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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       1:21-CR-108 (TSC)
                                              )
MICHAEL FOY                                   )



                                     DEFENSE POSITION
       COMES NOW Michael Foy, through counsel, in accordance with the Court’s June 17,

2021, Minute Order and provides his position regarding press applications for release of the video

exhibits referenced in the parties’ respective motions regarding bond.

       Upon review of the press applications, Mr. Foy takes no position regarding the release of

the requested exhibits and respectfully defers to the Court on this issue.




                                                        Respectfully submitted,

                                                        Michael Foy
                                                        By Counsel


                                                        ______-s-_____
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